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 1                 IN THE UNITED STATES DISTRICT COURT FOR

 2                    THE EASTERN DISTRICT OF LOUISIANA

 3                               AT NEW ORLEANS

 4
     KURIAN DAVID, et al.,                )
 5                                        )
                         Plaintiffs,      )
 6                                        )
               v.                         )      Case No. 08-1220;
 7                                        )      12-557; 13-6218 "E"
     SIGNAL INTERNATIONAL, LLC, et al.,   )      January 12, 2015
 8                                        )      Jury Trial
                         Defendant.       )      Day One - PM
 9   _____________________________________)

10

11
                           TRANSCRIPT OF PROCEEDINGS
12
                      BEFORE THE HONORABLE SUSIE MORGAN
13
                         UNITED STATES DISTRICT JUDGE
14

15

16

17

18

19

20   SUSAN A. ZIELIE, RMR, FCRR
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25   Proceedings Recorded by Computer-aided Stenography.


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 1   APPEARANCES:

 2

 3   For the Plaintiffs:                 ALAN HOWARD, ESQ.
                                         HUGH SANDLER, ESQ.
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                                         CHIENI SUZUKI, ESQ.
 5                                       Crowell & Moring, LLP
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                                         DANIEL WERNER, ESQ.
 8                                       NAOMI TSU, ESQ.
                                         KRISTI L. GRAUNKE, ESQ.               03:53PM
 9                                       MORRIS S. DEES, ESQ.                  03:53PM
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18                                       CHANDRA S. BHATNAGAR, ESQ.
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 1   APPEARANCE - 2

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     For Signal Defendants:              ERIN CASEY HANGARTNER, ESQ.
 8                                       HAL D. UNGAR, ESQ.
                                         ELHAM RABBANI, ESQ.
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18   For Dewan Defendants:               STEPHEN H. SHAPIRO, ESQ.
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20   For Burnett Defendant:              TIMOTHY W. CERNIGLIA, ESQ.
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21                                       Law Office of Timothy Cerniglia
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23

24

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 1            NEW ORLEANS, LOUISIANA; MONDAY, JANUARY 12, 2014                  02:46PM


 2                                      2:07 P.M.                               02:46PM


 3                    (Chambers conference, on the record, jury not             02:46PM


 4   present.)                                                                  02:46PM


 5               THE COURT:    So Cesyle has told you who the jurors are,       02:46PM


 6   and I understand the plaintiffs have a motion.                             02:46PM


 7               MR. HOWARD:    Yeah.    We do have a Batson vs. Kentucky       02:46PM


 8   motion, Your Honor, to put on the record.                                  02:46PM


 9                    The twenty-four-person pool from which preemptory         02:46PM


10   strikes were applied was I think one-third African-American.               02:46PM


11                    Defendants collectively asserted two-thirds of            02:46PM


12   their strikes against African-Americans.        Signal's -- both of        02:46PM


13   their strikes were against African-Americans.                              02:46PM


14                    Thus, it doesn't seem on its face when you look at        02:46PM


15   the information we have from these people to see clear other               02:46PM


16   reasons for strikes.                                                       02:46PM


17                    So I'll just put on the record, we're talking             02:46PM


18   about Juror No. 3, that's Peggy Blanchard --                               02:46PM


19               THE COURT:    Do it by defendant.   Signal struck which        02:46PM


20   ones?                                                                      02:46PM


21               MR. HOWARD:    I would need the list from Cesyle.              02:46PM


22               THE COURT:    So Dewan?                                        02:46PM


23               MR. HOWARD:    So Dewan struck Peggy Blanchard, Juror No.      02:46PM


24   3, a black female, African-American female.                                02:46PM


25               THE COURT:    Let's get the list straight first, and then      02:46PM




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 1   we'll talk about it.                                                       02:46PM


 2              MR. HOWARD:    No. 11 was Robert White, an                      02:46PM


 3   African-American struck by Signal, male.                                   02:46PM


 4                  No. 13 is Carla Jones, that was an                          02:46PM


 5   African-American woman, struck by Signal.                                  02:46PM


 6                  And, No. 17 Edna Delaney, that was an                       02:46PM


 7   African-American woman struck by Malvin Burnett.                           02:46PM


 8              THE COURT:    17?                                               02:46PM


 9              MR. HOWARD:    Correct.                                         02:46PM


10              THE COURT:    So do you want to say anything about those        02:46PM


11   individuals, or do you just want Signal to respond?          Do you have   02:46PM


12   anything else to say?                                                      02:46PM


13              MR. HOWARD:    No.    Just it looks on its face that was        02:46PM


14   the reason for their being struck.                                         02:46PM


15              MS. HANGARTNER:      Clearly, that's not the reason, Your       02:46PM


16   Honor.                                                                     02:46PM


17                   No. 3, both she and her husband are social                 02:46PM


18   workers.                                                                   02:46PM


19              MR. HOWARD:    No. 3, you didn't strike.                        02:46PM


20              MS. HANGARTNER:      11 was the USPS driver, which is -- or     02:46PM


21   works for the USPS.                                                        02:46PM


22              THE COURT:    Works for the post office.                        02:46PM


23              MS. HANGARTNER:      Right.                                     02:46PM


24                   To me, that's a little too close to unions for me.         02:46PM


25                  Also, first wife, Special Ed.          Although, that       02:46PM




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 1   wasn't as much.                                                           02:46PM


 2                    And previously worked at Avondale as a programer.        02:46PM


 3              THE COURT:    And what's the wife being in Special Ed          02:46PM


 4   have to do with it?                                                       02:46PM


 5              MS. HANGARTNER:      I'm not -- I've had bad luck with         02:46PM


 6   teachers in the past on juries, especially Special Ed.         In         02:46PM


 7   criminal court, though.                                                   02:46PM


 8              THE COURT:    And then what about Avondale?                    02:46PM


 9              MS. HANGARTNER:      I am sympathetic.                         02:46PM


10                  Previously worked at Avondale as a program                 02:46PM


11   administrator.                                                            02:46PM


12              THE COURT:    What about that caused you --                    02:46PM


13              MS. HANGARTNER:      Years ago, Avondale had H-2B Indian       02:46PM


14   workers.   I'm not sure, but that is in the timeframe, I would            02:46PM


15   think.                                                                    02:46PM


16              MR. HOWARD:    Your Honor, may I briefly respond?              02:46PM


17              THE COURT:    Yes.                                             02:46PM


18              MR. HOWARD:    The teacher point is clearly pretext            02:46PM


19   because Signal left on the panel I think four or five teachers.           02:46PM


20   The fact that his wife is a teacher is so far removed.                    02:46PM


21                  Secondly, the post office being tied with unions,          02:46PM


22   that defies credibility as well.                                          02:46PM


23                  And, finally, there is no clarity on the timeframe         02:46PM


24   at Avondale or whether they used H-2B workers in the timeframe.           02:46PM


25                    So I would suggest these are kind of pretextual          02:46PM




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 1   arguments.                                                                        02:46PM


 2               MR. ROUX:    Your Honor, at various points -- I'm sorry.              02:46PM


 3               MS. HANGARTNER:     I absolutely disagree.        Avondale, we        02:46PM


 4   do not know the timeframe.        That's too close of a call.                     02:46PM


 5                   I'm sorry, but I have always cut postal workers.                  02:46PM


 6                   And Special Ed, again, I had a very bad experience                02:46PM


 7   with -- and I understand it's not him -- -but a special                           02:46PM


 8   education teacher on a jury in criminal court that was very                       02:46PM


 9   important to me, and I lost it.                                                   02:46PM


10                    That's it.                                                       02:46PM


11               THE COURT:    Okay.                                                   02:46PM


12                    Then the other is No. 13.                                        02:46PM


13               MS. HANGARTNER:     She is a previous plaintiff in a                  02:46PM


14   matter.   Her two children, I believe, were injured.             Works at         02:46PM


15   Family Dollar.    She's a cashier.        She's only been there ten               02:46PM


16   months.                                                                           02:46PM


17                    I don't -- I got the feeling from her that she is                02:46PM


18   not going to be focused on this type of trial, this length of                     02:46PM


19   trial, based on working in Family Dollar for only ten months.                     02:46PM


20                    I believe she was a sole provider as well.                       02:46PM


21               MS. TSU:    Her kids were 23 and 28.          She wasn't a sole       02:46PM


22   provider.                                                                         02:46PM


23               THE COURT:    Anything else?                                          02:46PM


24               MS. HANGARTNER:     No, Your Honor.                                   02:46PM


25               MR. HOWARD:    In response to that, for example, white                02:46PM




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 1   female, Juror No. 27, was a plaintiff in a lawsuit, and Signal               02:46PM


 2   did not strike her.    It's Donna Autin.                                     02:46PM


 3            THE COURT:    Anyone else?                                          02:46PM


 4            MR. BHATNAGAR:     Your Honor, the lawsuit, she said, was           02:46PM


 5   11 years ago.                                                                02:46PM


 6            MS. HANGARTNER:     When your children are gravely                  02:46PM


 7   injured, I don't think you forget that.                                      02:46PM


 8            THE COURT:    Did we hear gravely injured?                          02:46PM


 9            MR. BHATNAGAR:     No.                                              02:46PM


10            MS. HANGARTNER:     That's what I got.                              02:46PM


11            THE COURT:    Never heard that.                                     02:46PM


12                    Anything else on 13?                                        02:46PM


13                    (No response.)                                              02:46PM


14            THE COURT:    Mr. Shapiro, you had No. 3.                           02:46PM


15            MR. SHAPIRO:     That's correct, Your Honor.                        02:46PM


16                    This was where you have the social worker husband           02:46PM


17   and wife team.    She is a professor at SUNO.          Very well-educated.   02:46PM


18                    But what would bother me about that is having a             02:46PM


19   social work background to garner sympathy for the plaintiffs.                02:46PM


20   Actually was interested -- I was interested in No. 13, and I                 02:46PM


21   actually decided not to go with that because my client is from               02:46PM


22   India and I wanted -- I didn't want to strike that.           But,           02:46PM


23   unfortunately, the codefendants decided they wanted to strike                02:46PM


24   it, so I didn't have any choice in the matter.                               02:46PM


25                    So I struck 3, and there is absolutely no pretext.          02:46PM




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 1   I would never do anything that would be racially biased.                  02:46PM


 2            THE COURT:    But your stated reason is because she and          02:46PM


 3   her husband were both social workers and you thought they would           02:46PM


 4   have sympathy for the plaintiff.                                          02:46PM


 5            MR. SHAPIRO:     I think so, yeah.                               02:46PM


 6            THE COURT:    Anyone else?                                       02:46PM


 7            MR. SHAPIRO:     No.                                             02:46PM


 8            MR. HOWARD:    The point Collin is making is Juror No.           02:46PM


 9   10, which was not stricken, he is a white male, is a former               02:46PM


10   guidance counselor.    There are well-educated white females on           02:46PM


11   the jury that were not stricken.                                          02:46PM


12            THE COURT:    Any response?                                      02:46PM


13            MR. SHAPIRO:     Not really.    I mean, this is a very           02:46PM


14   imperfect science.    We have to do the very best we can with all         02:46PM


15   of our intelligence and emotions.       And I don't know how that         02:46PM


16   really makes a difference, guidance counselor, social worker.             02:46PM


17                  That kind of just proves my point, Your Honor.             02:46PM


18   When the first four strikes that come back here are all                   02:46PM


19   African-American, it raises a red flag for us.                            02:46PM


20            THE COURT:    Then Burnett had Juror No. 17.                     02:46PM


21            MR. CERNIGLIA:     Yes, Your Honor.                              02:46PM


22                  But I'd also note, that was struck as well, Juror          02:46PM


23   No. 25, who was a white female, high school assistant principal.          02:46PM


24                  And with only two.       But as far as -- out of the       02:46PM


25   two, one could be white, one could be black, I don't see how              02:46PM




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 1   that shows anything.                                                        02:46PM


 2                    But No. 17 worked for Avondale, and my client              02:46PM


 3   is -- there is likely to be testimony, a lot of testimony,                  02:46PM


 4   coming out about his work for Avondale, and I don't have a clue             02:46PM


 5   what sort of --                                                             02:46PM


 6               THE COURT:    About Burnett doing work of this type for         02:46PM


 7   Avondale?                                                                   02:46PM


 8               MR. CERNIGLIA:    Of this type for Avondale.                    02:46PM


 9                    I don't know what Avondale's thoughts on that or           02:46PM


10   anybody that worked there, and I'm not going to take a chance on            02:46PM


11   a fellow what was in an automobile accident who I believe had a             02:46PM


12   lawsuit.                                                                    02:46PM


13               MR. HOWARD:    Your Honor, the record is actually the           02:46PM


14   sister-in-law, Juror No. 40.                                                02:46PM


15               MS. CORRANE:   Actually, I think it was the brother.            02:46PM


16               MR. HOWARD:    So she did not herself work for Avondale.        02:46PM


17               MR. CERNIGLIA:    Still close enough.                           02:46PM


18               THE COURT:    Anything else about 17?                           02:46PM


19               MR. HOWARD:    No, Your Honor.                                  02:46PM


20               THE COURT:    Any response?                                     02:46PM


21               MR. CERNIGLIA:    No.                                           02:46PM


22               THE COURT:    Okay.   All right.                                02:46PM


23                   So I need to go look at this, and I'll let you all          02:46PM


24   know what my decision is.                                                   02:46PM


25               MR. HOWARD:    The other issue that came up, Your Honor,        02:46PM




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 1   the concern now with starting opening statements is that we                 02:46PM


 2   clearly will not get all the opening statements in.                         02:46PM


 3                   Also, I'm a bit concerned there are going to be             02:46PM


 4   some people that you're going to be impaneling who have                     02:46PM


 5   expressed hardships, and I'm just worried they are not going to             02:46PM


 6   be concentrating on my opening, I'm worried they're going to be             02:46PM


 7   worried about how they're spending the next five weeks, how                 02:46PM


 8   they're going to take care of things.                                       02:46PM


 9                   My suggestion would be to start opening tomorrow            02:46PM


10   morning, they'll have all their ducks in a row.                             02:46PM


11             MS. HANGARTNER:    And we have five jurors who are from           02:46PM


12   eighty or more miles away.                                                  02:46PM


13             THE COURT:    If I do that, then I have to take some time         02:46PM


14   off.   Because I literally have scheduled every part of this.               02:46PM


15             MR. HOWARD:    That's fine with us.      Because of the           02:46PM


16   experts you have excluded, we're not going to take all the time.            02:46PM


17             THE COURT:    Does anybody have any objection?                    02:46PM


18             MR. CERNIGLIA:    No.   I have no objection to that.              02:46PM


19             MR. SHAPIRO:    I have no objection with Dewan.                   02:46PM


20             THE COURT:    So I'm going to exclude some time from you,         02:46PM


21   and we'll start tomorrow morning.       We can't start at 8:30, we'll       02:46PM


22   have to start at 9.                                                         02:46PM


23                   So I'll go in, I'm going to have Cesyle read the            02:46PM


24   names of the jurors who have been picked, let the others leave.             02:46PM


25   Then I'll give them my opening instructions and I'll tell them              02:46PM




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 1   we'll come back tomorrow for opening statement.                             02:46PM


 2             MS. HANGARTNER:    Thank you, Your Honor.                         02:46PM


 3             THE COURT:    As far as how far away they're from, I              02:46PM


 4   guess it really highlights the fact that we all need to be as               02:46PM


 5   efficient as you can.                                                       02:46PM


 6             MR. HOWARD:    That's certainly our plan.                         02:46PM


 7             THE COURT:    Because it is going to be a hardship on             02:46PM


 8   them to come that distance.      And we've got to keep that in mind.        02:46PM


 9             MR. HOWARD:    Okay, Your Honor.                                  02:46PM


10             MS. HANGARTNER:    Your Honor, just for the record, I'm           02:47PM


11   not going to lodge an official reverse Batson challenge, but I              02:47PM


12   do want to point out for the record that all of the plaintiffs'             02:47PM


13   strikes were Caucasian.                                                     02:47PM


14             THE COURT:    Okay.   So let me look at the Batson                02:47PM


15   challenges.   Let's not go back in the courtroom.        I'll do it on      02:47PM


16   the record in here, my ruling.                                              02:47PM


17                   (Pause in proceedings.)                                     02:47PM


18             THE COURT:    The plaintiffs raised a Batson challenge            02:47PM


19   after jury selection based on race, and their argument was that             02:47PM


20   the defendants asserted two-thirds of their Batson challenges to            02:47PM


21   strike African-Americans.                                                   02:47PM


22                   Signal struck Juror No. 11, who is an                       02:47PM


23   African-American male, and Juror No. 13, an African-American                02:47PM


24   female.   I think that's right.                                             02:47PM


25             MR. HOWARD:    I think that's right, Your Honor, yes.             02:47PM




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 1             THE COURT:    And Dewan struck Juror No. 3, who is an             02:47PM


 2   African-American female.                                                    02:47PM


 3                    And Burnett struck Juror No. 17, who is an                 02:47PM


 4   African-American female.                                                    02:47PM


 5                   I've consulted with Fifth Circuit cases about               02:47PM


 6   Batson challenges, and they have a three-step process.          I'm sure    02:47PM


 7   you're all familiar with.                                                   02:47PM


 8                    First, the complaining party has to make a prima           02:47PM


 9   facie showing that opposing counsel has exercised a peremptory              02:47PM


10   challenge on the basis of race.                                             02:47PM


11                    Once a showing has been made, the burden shifts            02:47PM


12   back to the striking party to articulate a race-neutral                     02:47PM


13   explanation for the strike.                                                 02:47PM


14                    Thereafter, the Court must determine whether the           02:47PM


15   Batson claimant has proven purposeful discrimination.                       02:47PM


16                   So, to establish the prima facie case, the                  02:47PM


17   plaintiffs had to show that the circumstances surrounding the               02:47PM


18   peremptory challenges raised an inference of purposeful                     02:47PM


19   discrimination, and the Court has to consider all relevant                  02:47PM


20   circumstances.    It is not enough to come forward just with                02:47PM


21   numbers; you have to have facts.                                            02:47PM


22                   So, when thinking about this, I thought there are           02:47PM


23   three different defendants, they had a total of six peremptory              02:47PM


24   challenges.    But there were two each, and they did not exercise           02:47PM


25   them as one.    And, in fact, apparently they had disagreed about           02:47PM




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 1   some of the peremptory challenges.                                          02:47PM


 2                    So I think you have to look at it individually,            02:47PM


 3   and not as the defendants as a group.                                       02:47PM


 4                   So, for Burnett and Dewan, they each struck one             02:47PM


 5   Caucasian and one African-American.       And then Signal then struck       02:47PM


 6   two African-Americans.                                                      02:47PM


 7                   So I did not see that the plaintiffs had even met           02:47PM


 8   their prima facie showing that they exercised them on the basis             02:47PM


 9   of race.    But, even if they had, I think that all three                   02:47PM


10   defendants articulated a race-neutral explanation, and I don't              02:47PM


11   find that the plaintiffs have proven purposeful discrimination.             02:47PM


12                    So the Batson challenge is denied.                         02:47PM


13                    So we'll go back in the courtroom.                         02:47PM


14                    (Chambers conference concluded.)                           02:47PM


15                    (Jury now present.)                                        02:47PM


16               THE COURT:   All right, be seated.                              02:47PM


17                    I'd like the courtroom deputy to read the names of         02:47PM


18   the persons who will serve on the jury.                                     02:47PM


19               CASE MANAGER:   Tracey Griffin-Robertson.     Braya             02:47PM


20   Rodrigue.    Meghann Roper.    Michael Toups.    Yolande Epps.              02:47PM


21                    Please forgive me if I'm mispronouncing your               02:47PM


22   names.                                                                      02:47PM


23                    Penny Damico.   Gina Egan.     Donna Autin.   Trenease     02:47PM


24   Knox.    Katie Laughlin.    Brandon Harris.                                 02:47PM


25               THE COURT:   All right.   To those of you who are in the        02:47PM




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 1   courtroom who were not selected, I want to tell you how much I              02:47PM


 2   appreciate your being here today.       And I know it has taken some        02:47PM


 3   time out of your lives, but it's very important to the system               02:47PM


 4   that you all participate.                                                   02:47PM


 5                   If you weren't selected, your being here was very           02:47PM


 6   important, and we all appreciate it very much.                              02:47PM


 7                   So we're going to release you and let you all go            02:47PM


 8   back down to the jury room on the first floor.                              02:47PM


 9                   If you were selected, as others leave, if you will          02:47PM


10   all come sit in the jury box in the front, we'll -- I'm sorry.              02:47PM


11             PROSPECTIVE JUROR:     Do you have a few minutes just to          02:47PM


12   call my principal and let him know?                                         02:47PM


13             THE COURT:    Oh, yeah.   When you come back, I'll talk to        02:47PM


14   you about that.                                                             02:47PM


15                   All right.   Everybody else can be seated, and then         02:47PM


16   the courtroom deputy can swear in the jurors.                               02:47PM


17                   Does it look like we have twelve people?                    02:47PM


18                   So everyone but the jurors can be seated.                   02:47PM


19                   Jurors, would you stand up for a second while we            02:47PM


20   get you organized?                                                          02:47PM


21                   You all can have a seat while we get all the                02:47PM


22   jurors.                                                                     02:48PM


23             CASE MANAGER:    We're missing a juror, Judge.                    02:48PM


24             THE COURT:    Call the jurors.                                    02:48PM


25             CASE MANAGER:    Tracey Robinson.     Meghann Rodrigue --         02:48PM




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 1   Meghann Roper.    Michael Toups.    Yolande Epps.       Penny Damico.          02:48PM


 2   Tyler Toups.                                                                   02:48PM


 3                    Okay.   I have to go back down and get him.                   02:48PM


 4                    Gina Egan.   Donna Autin.     Trenease Knox.     Katie        02:48PM


 5   Laughlin.    And Brandon Harris.                                               02:48PM


 6               THE COURT:   What number was Tyler Toups?                          02:48PM


 7               CASE MANAGER:   Tyler Toups, 22.                                   02:48PM


 8               THE COURT:   So we're going to have to get Mr. Toups.              02:49PM


 9                    So I'm going to go back to my office for a few                02:49PM


10   minutes, and the lawyers can stand at ease.            You all can just        02:49PM


11   sit there for a few minutes and we'll locate Mr. Toups and then                02:49PM


12   we'll swear you in and continue.                                               02:49PM


13                   I'll tell you that I've decided that we'll do                  02:49PM


14   opening argument in the morning.       So, when I come back, I'm               02:49PM


15   going to give you some preliminary instructions and then you'll                02:49PM


16   be allowed to leave.     So you'll have an opportunity to call home            02:49PM


17   and make whatever arrangements you need to.                                    02:49PM


18               CASE MANAGER:   He's coming back up.        I'm going to wait      02:49PM


19   for him.                                                                       02:49PM


20               THE COURT:   So apparently he's on his way up, so we'll            02:49PM


21   just stay in place.                                                            02:49PM


22                    (Pause in proceedings.)                                       02:49PM


23               THE COURT:   Welcome back, Mr. Toups.                              02:52PM


24                   Now, would the jury please stand and be sworn in?              02:52PM


25                    (Jury panel sworn.)                                           02:52PM




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 1               CASE MANAGER:   You may be seated.                              02:53PM


 2               THE COURT:   I have no doubt that you as jurors are             02:53PM


 3   mindful of the great responsibilities and certainly you're aware            02:53PM


 4   that your conduct during this trial will be observed by the                 02:53PM


 5   Court, your fellow jurors, the parties, and the attorneys for               02:53PM


 6   the parties, and other persons both inside and outside this                 02:53PM


 7   courtroom.                                                                  02:53PM


 8                   Cesyle, I would like for this juror right here in           02:53PM


 9   this corner to move so I can see her.        If you all would scoot         02:53PM


10   down one.    She's hidden behind the court reporter.       I would just     02:53PM


11   rather see you all while I'm talking to you.                                02:53PM


12                    I expect, and your responsibility demands, that            02:53PM


13   you'll be extremely careful in the manner that you conduct                  02:53PM


14   yourselves in order that no one has any doubt that this case is             02:53PM


15   being fairly and impartially tried and that in the end justice              02:53PM


16   has been done.                                                              02:54PM


17                    For the same reasons, the attorneys in this case,          02:54PM


18   the parties, the witnesses and all others identified with or                02:54PM


19   connected with this trial or its participants should be equally             02:54PM


20   careful in their conduct.                                                   02:54PM


21                    During the course of the trial, jurors shall not           02:54PM


22   engage or attempt to engage or have any conversation of any kind            02:54PM


23   whatsoever with any of the persons connected with this trial,               02:54PM


24   including the parties, their relatives or family, the attorneys             02:54PM


25   for the parties, witnesses or any other person identified with              02:54PM




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 1   this trial.                                                                 02:54PM


 2                   And, likewise, any person identified with this              02:54PM


 3   trial shall not engage or attempt to engage in any conversation             02:54PM


 4   whatsoever with any juror.      If this happens, I ask that you             02:54PM


 5   report it immediately to me.                                                02:54PM


 6                  You as jurors should avoid allowing yourselves to            02:54PM


 7   be placed in a position where you are outside the courtroom                 02:54PM


 8   where discussions of the case are or may be conducted by any of             02:54PM


 9   the parties to the trial.                                                   02:54PM


10                   Furthermore, the attorneys, the parties, the                02:54PM


11   witnesses and other persons who may be observing the trial or               02:55PM


12   are connected with it in any way must be particularly careful               02:55PM


13   not to discuss the case where there is a possibility that you,              02:55PM


14   the jurors, may hear their remarks.       If that occurs, please            02:55PM


15   notify me immediately.                                                      02:55PM


16                  All of us were trained to extend to acquaintances,           02:55PM


17   perhaps even strangers, a good morning, a hello or other                    02:55PM


18   neighborly greeting.     You should not engage in such exchanges            02:55PM


19   with the parties, their counsel or any other persons connected              02:55PM


20   with this trial, and you should not take offense to the fact                02:55PM


21   that such persons do not extend such a greeting to you.                     02:55PM


22                  The reason that such exchanges are not indulged in           02:55PM


23   is because, although they seem innocent, this could nonetheless             02:55PM


24   give the impression of a lack of impartiality.         And, in creating     02:55PM


25   an impression of being partial is almost as bad as being biased,            02:55PM




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 1   and should be avoided.                                                      02:55PM


 2                   All of you should realize that, if it is called to          02:55PM


 3   my attention that these instructions have been violated, I will             02:56PM


 4   have no alternative but to take appropriate action.         And I'm         02:56PM


 5   confident that, in view of the instructions I've given you, that            02:56PM


 6   this will not be required.                                                  02:56PM


 7                  I would like at this time to give you the                    02:56PM


 8   following specific instructions.                                            02:56PM


 9                  You are not to discuss the case with anyone during           02:56PM


10   the course of this trial.     This includes your wife, your                 02:56PM


11   husband, your child, your relatives, friends and strangers.                 02:56PM


12                   Further, you must not communicate with or provide           02:56PM


13   any information to anyone by any means about this case.          You may    02:56PM


14   not use any electronic device or media, such as a telephone or              02:56PM


15   cellphone, an iPad or computer, the Internet or any Internet                02:56PM


16   service, or any websites, such as Facebook, to communicate to               02:56PM


17   anyone any information about this case, or to conduct any                   02:56PM


18   research about this case until after I accept your verdict.                 02:56PM


19                  You shall not discuss this case even among                   02:57PM


20   yourselves until it's concluded and you are instructed to begin             02:57PM


21   your deliberations.                                                         02:57PM


22                  If any publicity about this case has come to your            02:57PM


23   attention before this moment, you must strike it from your minds            02:57PM


24   and completely disregard anything that has come to your                     02:57PM


25   attention outside this courtroom.                                           02:57PM




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 1                   From this moment on, you are not to read any                02:57PM


 2   newspapers or other accounts of this trial, nor are you to view             02:57PM


 3   or listen to any television news reports, radio reports or other            02:57PM


 4   accounts of this trial.                                                     02:57PM


 5                   You should not check the Internet, any websites or          02:57PM


 6   blogs to find out information about this case.         You should also      02:57PM


 7   not check Facebook or any other social networking site to find              02:57PM


 8   out information about this case.                                            02:57PM


 9                   This is necessary because your verdict must be              02:57PM


10   based solely on the evidence presented in this trial in                     02:57PM


11   accordance with what you hear and see in this courtroom and in              02:58PM


12   accordance with the Court's instructions on the law applicable              02:58PM


13   to this case.                                                               02:58PM


14                   Pay close attention to the testimony and evidence.          02:58PM


15   If you would like to take notes during the trial, you may do so.            02:58PM


16   If you do take notes, be careful not to get so involved in                  02:58PM


17   note-taking that you become distracted and miss part of the                 02:58PM


18   testimony.                                                                  02:58PM


19                   Your notes are to be used only as aids to your              02:58PM


20   memory; and, if your memory should later be different from your             02:58PM


21   notes, you should rely on your memory and not on your notes.                02:58PM


22                   If you do not take notes, rely on your own                  02:58PM


23   independent memory of the testimony.                                        02:58PM


24                   Do not be unduly influenced by the notes of other           02:58PM


25   jurors.   A juror's notes are not entitled to any greater weight            02:58PM




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 1   than the recollection of each juror concerning the testimony.               02:58PM


 2                  Even though the court reporter is making                     02:58PM


 3   stenographic notes of everything that is said, a typewritten                02:58PM


 4   copy of the testimony will not be available for your use during             02:58PM


 5   the deliberations.                                                          02:59PM


 6                   On the other hand, all exhibits will be available           02:59PM


 7   to you during your deliberations.                                           02:59PM


 8                  Finally, you are not to reach any conclusions in             02:59PM


 9   this case until all the evidence has been presented, the Court              02:59PM


10   has instructed you on the law applicable to this case and it is             02:59PM


11   given to you for deliberation and decision.                                 02:59PM


12                  In the morning when you arrive and during the day            02:59PM


13   when you are in the building and the court is in recess or when             02:59PM


14   for any other reason the jury is not required to be in the                  02:59PM


15   courtroom, I ask that you go to and remain in the jury room or              02:59PM


16   remain under the direct supervision of the United States Marshal            02:59PM


17   until the marshal advises you to enter the courtroom.          Please do    02:59PM


18   not stand around in the halls.                                              02:59PM


19                   This case will proceed in the following order:              02:59PM


20                   First, counsel for the plaintiffs and counsel for           02:59PM


21   the defendants will have the opportunity to make opening                    02:59PM


22   statements.   Plaintiffs' counsel will make an opening statement            02:59PM


23   at the beginning of the case.                                               03:00PM


24                   The statement is nothing more than an explanation           03:00PM


25   of the plaintiffs' theory of the case and serves merely as an               03:00PM




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 1   introduction to the evidence which the plaintiffs intend to                 03:00PM


 2   produce during the course of the trial.                                     03:00PM


 3                  The defendants may make opening statements                   03:00PM


 4   following the opening statement of the plaintiffs.         Like the         03:00PM


 5   plaintiffs' opening statement, any defense opening statement, if            03:00PM


 6   made, would be nothing more than an explanation of the                      03:00PM


 7   defendant's theory of the case.                                             03:00PM


 8                   Neither side is required to make an opening                 03:00PM


 9   statement, but may do so if they chose.                                     03:00PM


10                   Second, the plaintiffs will introduce evidence in           03:00PM


11   support of their allegations.                                               03:00PM


12                   At the conclusion of the plaintiffs' evidence,              03:00PM


13   counsel for the defendant may introduce evidence.                           03:00PM


14                   Third, rebuttal evidence may be introduced.                 03:00PM


15                   Fourth, at the conclusion of the evidence, the              03:00PM


16   parties will have an opportunity to present a closing argument              03:00PM


17   in support of their respective cases.        What is said in closing        03:00PM


18   arguments is not evidence, just as what is said in any opening              03:01PM


19   statement is not evidence.                                                  03:01PM


20                   The arguments are intended to present to you the            03:01PM


21   contentions of the respective parties as to what the evidence               03:01PM


22   has shown and what inferences may be drawn from the evidence.               03:01PM


23                   Counsel for the plaintiffs has the right to open            03:01PM


24   and close the arguments.                                                    03:01PM


25                  Finally, I will instruct you on the applicable               03:01PM




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 1   law, and you will then retire to consider your verdict.          The law     03:01PM


 2   applicable to this case will be contained in the instructions                03:01PM


 3   which I give you during the course of the trial, and it is your              03:01PM


 4   duty to follow such instructions.                                            03:01PM


 5                   It is your duty to determine the facts and to                03:01PM


 6   determine them from the evidence.       In so doing, you must not            03:01PM


 7   indulge in guesswork or speculation.                                         03:01PM


 8                   The evidence that you are to consider consists of            03:01PM


 9   the testimony of witnesses and the exhibits admitted into                    03:01PM


10   evidence.   In considering the weight and value of the testimony             03:01PM


11   of any witness, you may take into consideration the attitude and             03:02PM


12   behavior of the witness, the interest of the witness in the                  03:02PM


13   outcome of the suit, the relation of the witness to the parties,             03:02PM


14   the inclination of the witness to speak truthfully or not, the               03:02PM


15   probability or improbability of the witness's statements and all             03:02PM


16   other facts and circumstances in evidence.         Thus, you may give        03:02PM


17   the testimony of any witness just such weight and value as you               03:02PM


18   believe the testimony of such witness is entitled to receive.                03:02PM


19                   The admission of evidence in court is governed by            03:02PM


20   rules of law.    From time to time, it may be the duty of the                03:02PM


21   attorneys to make objections to the admissibility of evidence.               03:02PM


22                   It is my duty as judge to rule on those                      03:02PM


23   objections.   My rulings may affect whether you may consider                 03:02PM


24   certain evidence.    You must not concern yourselves with the                03:02PM


25   objections or the Court's reasons for its rulings on them.                   03:02PM




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 1                   You must not consider testimony or exhibits to                03:03PM


 2   which an objection was sustained or which has been ordered                    03:03PM


 3   stricken.   If I instruct you not to consider testimony or                    03:03PM


 4   evidence to which an objection is sustained or which has been                 03:03PM


 5   ordered stricken, you must completely ignore such testimony or                03:03PM


 6   evidence or not take it into consideration when deciding the                  03:03PM


 7   case.                                                                         03:03PM


 8                   You must not be influenced in any degree by any               03:03PM


 9   personal feelings of sympathy for or prejudice against any party              03:03PM


10   or their counsel.                                                             03:03PM


11                  No statement or ruling or remark which I may make              03:03PM


12   during the presentation of testimony or evidence is intended to               03:03PM


13   indicate my opinion as to what the facts are.          You are to             03:03PM


14   determine the facts.     In this determination, you alone must                03:03PM


15   decide upon the believability of the evidence and its weight and              03:03PM


16   value.                                                                        03:03PM


17                  Now, as I mentioned to you, we're going to do                  03:03PM


18   opening statements tomorrow morning at 9 o'clock, so I'm going                03:03PM


19   to release you this afternoon to make any calls or make any                   03:04PM


20   arrangements you need to make.                                                03:04PM


21                  Tomorrow morning, we'll start at 9 o'clock.          My        03:04PM


22   courtroom is on the third floor.       It's in the same position as           03:04PM


23   this courtroom, but just one floor down.        And my name is Judge          03:04PM


24   Morgan.   So you'll see my name outside the courtroom on the                  03:04PM


25   door.                                                                         03:04PM




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 1                    So you're to report there tomorrow morning and              03:04PM


 2   then we'll get started then.                                                 03:04PM


 3                    So thank you all very much.     I'll see you                03:04PM


 4   tomorrow.                                                                    03:04PM


 5               CASE MANAGER:   Everyone rise, please.                           03:04PM


 6               THE COURT:   You know what, I think I said that                  03:04PM


 7   incorrectly.    I was thinking I was going back to my courtroom,             03:04PM


 8   but we're going to have opening remarks in this courtroom.                   03:04PM


 9                    So come back here tomorrow morning at 9.       Maybe        03:04PM


10   the next day we'll switch back to my courtroom.         So I'll see you      03:04PM


11   here in the morning.                                                         03:05PM


12                    (Jury exits.)                                               03:05PM


13               THE COURT:   I'm going to meet with counsel in the               03:05PM


14   conference room, off the record.       We're going to talk about             03:05PM


15   housekeeping matters.                                                        03:06PM


16                       (3:04 p.m., proceedings concluded.)                      03:06PM


17

18

19                                 CERTIFICATE

20

21
               I, Susan A. Zielie, Official Court Reporter, do hereby
22   certify that the foregoing transcript is correct.

23

24
                                         /S/ SUSAN A. ZIELIE, FCRR
25                                        ____________________________
                                              Susan A. Zielie, FCRR

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